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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


AMERICAN            ENVIRONMENTAL
ENTERPRISES,  INC.,     d/b/a THE
SAFETYHOUSE.COM,

                        Plaintiff,

v.
                                                    CIVIL ACTION
MANFRED STERNBERG, ESQUIRE, and
MANFRED STERNBERG & ASSOCIATES, PC, No. 2:22-CV-0688 (JMY)
and CHARLTON HOLDINGS GROUP, LLC, and
SHLOMO GROSS a/k/a SAMUEL GROSS, and
GARY WEISS, and A.SOLAR, LLC, and
DAPHNA      ZEKARIA, ESQUIRE, and
SOKOLSKI & ZEKARIA, P.C.

                        Defendants


NOTICE OF MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANTS, DAPHNA
           ZEKARIA, ESQUIRE, and SOKOLSKI & ZEKARIA, P.C.

       PLEASE TAKE NOTICE that undersigned, as counsel of record for Defendants, Daphna

Zekaria, Esquire and Sokolski & Zekaria, P.C. (hereinafter “Zekari Defendants"), will move this

Court for an Order granting Rebar Kelly leave to withdraw as counsel to Defendants, Daphna

Zekaria, Esquire and Sokolski & Zekaria, P.C.

       PLEASE TAKE FURTHER NOTICE that this motion is accompanied by a proposed

form of Order.

       PLEASE TAKE FURTHER NOTICE that Rebar Kelly reserves its right for oral

argument in the event timely opposition is filed with the Court.

       PLEASE TAKE FURTHER NOTICE that this matter has not been scheduled for trial.
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                                         Respectfully submitted

                                         REBAR KELLY


                                         ____________________________________
                                         Cathleen Kelly Rebar, Esquire (ID # 82872)
                                         Patrick J. Healey, Esquire (ID# 63155)
                                         470 Norristown Road
                                         Suite 201
                                         Blue Bell, PA 19422
                                         (484) 344-5340
                                         Attorneys for Defendants, Daphna Zekaria,
                                         Esquire and Sokolski & Zekaria, P.C.

DATE:       April 12, 2024
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                               UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF PENNSYLVANIA


AMERICAN            ENVIRONMENTAL
ENTERPRISES,  INC.,     d/b/a THE
SAFETYHOUSE.COM,

                         Plaintiff,

v.
                                                      CIVIL ACTION
MANFRED STERNBERG, ESQUIRE, and
MANFRED STERNBERG & ASSOCIATES, PC, No. 2:22-CV-0688 (JMY)
and CHARLTON HOLDINGS GROUP, LLC, and
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GARY WEISS, and A.SOLAR, LLC, and
DAPHNA      ZEKARIA, ESQUIRE, and
SOKOLSKI & ZEKARIA, P.C.

                         Defendants


 MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANTS, DAPHNA ZEKARIA,
               ESQUIRE, and SOKOLSKI & ZEKARIA, P.C.

       AND NOW, Rebar Kelly, files this within Motion with this Honorable Court to Withdraw as

Counsel for Dapbna Zekaria, Esquire and Sokolski & Zekaria, P.C. (hereinafter the “Zekaria

Defendants”), and in support thereof states as follows:

       1.      Plaintiffs initiated this action by filing a Complaint on or about February 23, 2022.

       2.      The Movant in this matter is Rebar Kelly, who has been representing the Zekaria

Defendants in this action.

       3.      Defendant, Daphna Zekaria is an adult individual.

       4.      Defendant, Sokolski & Zekaria, P.C., is a Professional Corporation established and

operating under the laws of the State of New York.




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          5.    Rebar Kelly requests permission to withdraw its appearance, and any of its

individual attorneys, on behalf of the Zekaria Defendants in the action pursuant to Local Rule

5..1(b), which states that "[a]n attorney's appearance may not be withdrawn except by leave of

court ... "

          6.    Under the Pennsylvania Rules of Professional Conduct, “a lawyer may withdraw

from representing a client if “the client insists upon taking action . . .with which the lawyer has a

fundamental disagreement;” Rule 1.16(b)(4).

          7.    Furthermore, the Rules of Professional Conduct allow a lawyer to withdraw when

“good cause for withdrawal exists.” Rule 1.16(b)(7).

          8.    Rebar Kelly and the Zekaria Defendants have fundamental disagreement regarding

the manner in which this litigation is to be handled and other important matters relating to the legal

representation of the Zekaria Defendants.

          9.    These disputes are ongoing and have made further representations impractical and

unfair.

          10.   These fundamental disagreements require Rebar Kelly to withdraw as counsel for

the Zekaria Defendants.

          11.   Rebar Kelly respectfully avers that “good cause” for withdrawal exists and requests

that this Court allow Rebar Kelly from their representation of the Zekaria Defendants.

          12.   This case has not been scheduled for trial.

          13.   All counsel and parties have been served with this Motion.

          14.   Accordingly, it is respectfully requested that the Court enter an Order granting

Rebar Kelly Leave to Withdraw as Counsel for the Zekaria Defendants in this matter and Stay this




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Action for 30 days in order to afford the Zekaria Defendants adequate time to locate alternative

counsel.

                                                   Respectfully submitted

                                                   REBAR KELLY


                                                   ____________________________________
                                                   Cathleen Kelly Rebar, Esquire (ID # 82872)
                                                   Patrick J. Healey, Esquire (ID# 63155)
                                                   470 Norristown Road
                                                   Suite 201
                                                   Blue Bell, PA 19422
                                                   (484) 344-5340
                                                   Attorneys for Defendants, Daphna Zekaria,
                                                   Esquire and Sokolski & Zekaria, P.C.

DATE:          April 12, 2024




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